                Case 23-10511-JCM                       Doc 1              Filed 09/29/23 Entered 09/29/23 17:10:50                             Desc Main
                                                                          Document      Page 1 of 88
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

            Western District of Pennsylvania

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Donna
       Write the name that is on your         First name                                                      First name
       government-issued picture               Sue
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Hartzell
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as
       names.                                 Last name                                                       Last name

       Do NOT list the name of any
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 2           7     2   6                              xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Donna               Sue                         Hartzell                                       Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                   -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          1347 Reed Street, Lot 1
                                          Number            Street                                        Number           Street




                                          Clarion, PA 16214
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Clarion
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Donna              Sue                      Hartzell                                        Case number (if known)
                    First Name         Middle Name              Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑      Chapter 7
                                       ❑      Chapter 11
                                       ❑      Chapter 12
                                       ❑      Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                             details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                             check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                             a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                             to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                             judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                             official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                             choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                             103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                 When                        Case number
                                                                                                        MM / DD / YYYY

                                                  District                                       When                        Case number
                                                                                                        MM / DD / YYYY

                                                  District                                       When                        Case number
                                                                                                        MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                     Relationship to you
       case with you, or by a
       business partner, or by an                 District                                     When                      Case number, if known
       affiliate?                                                                                     MM / DD / YYYY


                                                  Debtor                                                                 Relationship to you

                                                  District                                     When                      Case number, if known
                                                                                                      MM / DD / YYYY




  11. Do you rent your residence?      ❑ No. Go to line 12.
                                       ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                       ❑
                                              ✔ No. Go to line 12.
                                              ❑
                                              ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                        as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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 Debtor 1           Donna                  Sue                       Hartzell                                      Case number (if known)
                    First Name             Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an                 Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.          Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                  City                                               State            ZIP Code

                                                 Check the appropriate box to describe your business:

                                                 ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑              I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                           I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                          Bankruptcy Code.

                                           ❑ Yes.         I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.         I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                          Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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 Debtor 1           Donna               Sue                     Hartzell                                     Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State      ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                    page 5
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 Debtor 1           Donna               Sue                         Hartzell                                            Case number (if known)
                    First Name          Middle Name                 Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                        About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                    You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔ I received a briefing from an approved credit counseling
                                        ❑                                                                      ❑ I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following              petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,           Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.           that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑ I received a briefing from an approved credit counseling             ❑ I received a briefing from an approved credit counseling
      can dismiss your case, you will         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you            petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can            Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities             MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑ I certify that I asked for credit counseling services from an        ❑ I certify that I asked for credit counseling services from an
      again.
                                              approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                              during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                              requirement.                                                          requirement.
                                              To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                              attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                              obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                              you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                              required you to file this case.                                       required you to file this case.

                                              Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                              your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                              bankruptcy.                                                           bankruptcy.

                                              If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                              receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                              with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                              do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                              Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                              cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑ I am not required to receive a briefing about credit                 ❑ I am not required to receive a briefing about credit
                                              counseling because of:                                                counseling because of:
                                              ❑ Incapacity. I have a mental illness or a mental                     ❑ Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                                realizing or making rational decisions                                realizing or making rational decisions
                                                                about finances.                                                       about finances.
                                              ❑ Disability.      My physical disability causes me to be             ❑ Disability.      My physical disability causes me to be
                                                                 unable to participate in a briefing in                                unable to participate in a briefing in
                                                                 person, by phone, or through the                                      person, by phone, or through the
                                                                 internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                 do so.                                                                do so.
                                              ❑ Active duty. I am currently on active military duty in              ❑ Active duty. I am currently on active military duty in
                                                                a military combat zone.                                               a military combat zone.

                                              If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                              about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                              credit counseling with the court.                                     credit counseling with the court.




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 Debtor 1           Donna                 Sue                      Hartzell                                         Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ❑ No. Go to line 16b.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ❑ Yes. Go to line 17.
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔ 1-49
                                              ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑ 50-99           ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ✔ $0-$50,000
                                              ❑                                    ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                      ✔ $50,001-$100,000
                                              ❑                                    ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Donna Sue Hartzell
                                       Donna Sue Hartzell, Debtor 1
                                       Executed on 09/24/2023
                                                        MM/ DD/ YYYY




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                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Granville Enriquez Carter                                        Date 09/24/2023
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Granville Enriquez Carter
                                                  Printed name

                                                  Carter Bianco, LLP
                                                  Firm name

                                                  201 Main Street, 2nd Floor
                                                  Number       Street



                                                  Brookville                                                       PA      15825
                                                  City                                                             State   ZIP Code



                                                  Contact phone (814) 849-8021                       Email address gec000139@gmail.com


                                                  59640                                                            PA
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Donna                        Sue                          Hartzell
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Western                   District of       Pennsylvania

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Where is the property?
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                City               State         ZIP Code         ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only
                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                       $0.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ✔ No
           ❑
           ❑ Yes




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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Debtor Hartzell, Donna Sue                                                                                                  Case number (if known)



       3.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
               Year:                                             ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:
                                                                 ❑ Check if this is community property (see
               Other information:                                     instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
               Year:                                             ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                      $0.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    See Attached.                                                                                                                          $1,270.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    See Attached.                                                                                                                            $140.00


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    stamped collection-$50.00, Coins-$10.00                                                                                                   $60.00



Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
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 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           380 Handgun                                                                                                                                                $150.00


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           clothes                                                                                                                                                     $25.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           various jewlery                                                                                                                                            $100.00


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           2 cats                                                                                                                                                      $50.00


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                           $1,795.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                           Cash: ...................                   $10.00




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 3
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 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                               Institution name:

                                      17.1. Checking account:          Wood Forest National Bank                                                   $100.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................    Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Name of entity:                                                       % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




Official Form 106A/B                                                     Schedule A/B: Property                                                     page 4
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 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ❑ No
       ✔ Yes ......................
       ❑                                                    Institution name or individual:

                                      Security deposit on rental unit:   Matt Steinman, Allegheny Estates                                              $250.00


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                       Schedule A/B: Property                                                       page 5
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 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you                                                                   Federal:
                already filed the returns and
                                                                                                              State:
                the tax years. ...................
                                                                                                              Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                              Alimony:

                                                                                                              Maintenance:

                                                                                                              Support:

                                                                                                              Divorce settlement:

                                                                                                              Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                of each policy and list its value. ...   Company name:                         Beneficiary:                          Surrender or refund value:




Official Form 106A/B                                                 Schedule A/B: Property                                                              page 6
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 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ❑ No
       ✔ Yes. Give specific information. ........
       ❑                                                          Security Deposit for rental property
                                                                                                                                                                                               $1,330.00
                                                                  Social Security Disability Benefits



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                              $1,690.00
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 7
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 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                              $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                              page 8
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                                                                                                                                                                                        Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                        $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                       $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔                   $0.00


 56.   Part 2: Total vehicles, line 5                                                                                        $0.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                     page 9
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 57.   Part 3: Total personal and household items, line 15                                                $1,795.00

 58.   Part 4: Total financial assets, line 36                                                            $1,690.00

 59.   Part 5: Total business-related property, line 45                                                        $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                               $0.00

 61.   Part 7: Total other property not listed, line 54                                 +                      $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                  $3,485.00        Copy personal property total         ➔    +     $3,485.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................              $3,485.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                       page 10
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                 Continuation Page

 6.               Household goods and furnishings

                  1 Quilting machine                                                                                           $300.00

                  1 Quilting machines                                                                                          $150.00

                  1948 Singer Machine                                                                                           $20.00

                  Embroidery machine                                                                                           $100.00

                  Fabric Thread                                                                                                $200.00

                  Living room-2 standard chairs, sofa/bed lift chair, electric
                  fireplace- $200.00, Kitchen-$100.00, Bedroom-bed, stand
                  and light-$50.00, BBQ Grill-$50.00.                                                                          $400.00

                  Quilt Frame                                                                                                  $100.00


 7.               Electronics

                  1-year-old I-Phone                                                                                            $20.00

                  4-year-oid Laptop                                                                                             $50.00

                  Carpet Scrubber                                                                                               $20.00

                  Printer                                                                                                       $20.00

                  Small TV                                                                                                      $30.00




Official Form 106A/B                                             Schedule A/B: Property                                        page 11
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 Fill in this information to identify your case:

  Debtor 1                  Donna                  Sue               Hartzell
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Pennsylvania

  Case number                                                                                                                   ❑ Check if this is an
  (if known)                                                                                                                         amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
 1.

      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from     Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                   ✔
                                                                                   ❑              $400.00                   11 U.S.C. § 522(d)(3)
 Living room-2 standard chairs, sofa/bed lift chair,                     $400.00
 electric fireplace- $200.00, Kitchen-$100.00,                                     ❑ 100% of fair market value, up
 Bedroom-bed, stand and light-$50.00, BBQ                                              to any applicable statutory limit
 Grill-$50.00.

 Line from
 Schedule A/B:          6

 Brief description:
                                                                                   ✔
                                                                                   ❑              $100.00                   11 U.S.C. § 522(d)(3)
 Embroidery machine                                                      $100.00
                                                                                   ❑ 100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:          6


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                               page 1 of 4
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                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑              $200.00                   11 U.S.C. § 522(d)(3)
 Fabric Thread                                                      $200.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $150.00                   11 U.S.C. § 522(d)(3)
 1 Quilting machines                                                $150.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $300.00                   11 U.S.C. § 522(d)(3)
 1 Quilting machine                                                 $300.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $20.00                    11 U.S.C. § 522(d)(3)
 1948 Singer Machine                                                 $20.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $100.00                   11 U.S.C. § 522(d)(3)
 Quilt Frame                                                        $100.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $30.00                    11 U.S.C. § 522(d)(3)
 Small TV                                                            $30.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                              ✔
                                                                              ❑              $20.00                    11 U.S.C. § 522(d)(3)
 Printer                                                             $20.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                              ✔
                                                                              ❑              $20.00                    11 U.S.C. § 522(d)(3)
 1-year-old I-Phone                                                  $20.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                              ✔
                                                                              ❑              $20.00                    11 U.S.C. § 522(d)(3)
 Carpet Scrubber                                                     $20.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         7



Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 2 of 4
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                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑              $50.00                    11 U.S.C. § 522(d)(3)
 4-year-oid Laptop                                                   $50.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                              ✔
                                                                              ❑              $60.00                    11 U.S.C. § 522(d)(5)
 stamped collection-$50.00, Coins-$10.00                             $60.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         8
                                                                              ✔
                                                                              ❑               $0.00                    11 U.S.C. § 522(d)(3)
                                                                              ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit


 Brief description:
                                                                              ✔
                                                                              ❑              $150.00                   11 U.S.C. § 522(d)(3)
 380 Handgun                                                        $150.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        10
                                                                              ✔
                                                                              ❑               $0.00                    11 U.S.C. § 522(d)(5)
                                                                              ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit


 Brief description:
                                                                              ✔
                                                                              ❑              $25.00                    11 U.S.C. § 522(d)(3)
 clothes                                                             $25.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                              ✔
                                                                              ❑              $100.00                   11 U.S.C. § 522(d)(4)
 various jewlery                                                    $100.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                              ✔
                                                                              ❑              $50.00                    11 U.S.C. § 522(d)(3)
 2 cats                                                              $50.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        13

 Brief description:
                                                                              ✔
                                                                              ❑              $10.00                    11 U.S.C. § 522(d)(5)
 Cash                                                                $10.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        16




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 3 of 4
                Case 23-10511-JCM                Doc 1     Filed 09/29/23 Entered 09/29/23 17:10:50                            Desc Main
                                                          Document      Page 23 of 88
 Debtor 1              Donna            Sue                   Hartzell                                     Case number (if known)
                       First Name       Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑              $100.00                   11 U.S.C. § 522(d)(5)
 Wood Forest National Bank                                          $100.00
 Checking account                                                             ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:          17

 Brief description:
                                                                              ✔
                                                                              ❑              $250.00                   11 U.S.C. § 522(d)(5)
 Matt Steinman, Allegheny Estates                                   $250.00
 Security deposit on rental unit                                              ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:          22

 Brief description:
                                                                              ✔
                                                                              ❑              $250.00                   11 U.S.C. § 522(d)(5)
 Security Deposit for rental property                               $250.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:          35

 Brief description:
                                                                              ✔
                                                                              ❑            $1,080.00                   11 U.S.C. § 522(d)(10)
 Social Security Disability Benefits                              $1,080.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:          35




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 4 of 4
               Case 23-10511-JCM                      Doc 1        Filed 09/29/23 Entered 09/29/23 17:10:50                                       Desc Main
                                                                  Document      Page 24 of 88
 Fill in this information to identify your case:

     Debtor 1            Donna                  Sue                     Hartzell
                         First Name             Middle Name            Last Name

     Debtor 2
     (Spouse, if filing) First Name             Middle Name            Last Name

     United States Bankruptcy Court for the:                Western               District of    Pennsylvania

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ✔ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below.
      Part 1:        List All Secured Claims

 2.        List all secured claims. If a creditor has more than one secured claim, list the creditor            Column A               Column B              Column C
           separately for each claim. If more than one creditor has a particular claim, list the other          Amount of claim        Value of collateral   Unsecured
           creditors in Part 2. As much as possible, list the claims in alphabetical order according to the     Do not deduct the
                                                                                                                                       that supports this    portion
           creditor’s name.                                                                                     value of collateral.
                                                                                                                                       claim                 If any

     2.1                                                 Describe the property that secures the claim:
           Creditor’s Name


           Number         Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                         ❑ Contingent
                                                         ❑ Unliquidated
           City              State        ZIP Code
                                                         ❑ Disputed
           Who owes the debt? Check one.                 Nature of lien. Check all that apply.
           ❑ Debtor 1 only                               ❑ An agreement you made (such as mortgage or secured car loan)
           ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
           ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
           ❑ At least one of the debtors and             ❑ Other (including a right to
               another                                       offset)
           ❑ Check if this claim relates to a
               community debt
           Date debt was incurred                        Last 4 digits of account number

           Add the dollar value of your entries in Column A on this page. Write that number here:                              $0.00




Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
           Case 23-10511-JCM                    Doc 1       Filed 09/29/23 Entered 09/29/23 17:10:50                                       Desc Main
                                                           Document      Page 25 of 88
Debtor 1         Donna                  Sue                      Hartzell                        Case number (if known)
                 First Name             Middle Name             Last Name


                                                                                                         Column A               Column B                Column C
                 Additional Page                                                                         Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                      that supports this      portion
                 After listing any entries on this page, number them beginning with 2.3,                 Do not deduct the
                 followed by 2.4, and so forth.                                                          value of collateral.
                                                                                                                                claim                   If any

  2.2                                              Describe the property that secures the claim:
        Creditor’s Name


        Number       Street
                                                   As of the date you file, the claim is: Check all that apply.
                                                   ❑ Contingent
                                                   ❑ Unliquidated
        City              State      ZIP Code
                                                   ❑ Disputed
        Who owes the debt? Check one.              Nature of lien. Check all that apply.
        ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
        ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
        ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
        ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                    offset)
        ❑ Check if this claim relates to a
          community debt
        Date debt was incurred                     Last 4 digits of account number

        Add the dollar value of your entries in Column A on this page. Write that number here:                          $0.00

        If this is the last page of your form, add the dollar value totals from all pages.                              $0.00
        Write that number here:




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 2
                  Case 23-10511-JCM                   Doc 1       Filed 09/29/23 Entered 09/29/23 17:10:50                                 Desc Main
 Fill in this information to identify your case:                 Document      Page 26 of 88
  Debtor 1                  Donna                  Sue                Hartzell
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                     Western District of Pennsylvania

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

                                                                   Last 4 digits of account number
        Priority Creditor's Name
                                                                   When was the debt incurred?
        Number          Street                                     As of the date you file, the claim is: Check all that
                                                                   apply.
                                                                   ❑ Contingent
        City                             State     ZIP Code        ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                   ❑ Disputed
        ❑ Debtor 1 only                                            Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                            ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                               ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                     government
        ❑ Check if this claim is for a community debt              ❑ Claims for death or person injury while you
                                                                      were intoxicated
        Is the claim subject to offset?                            ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 26
                Case 23-10511-JCM                   Doc 1       Filed 09/29/23 Entered 09/29/23 17:10:50 Desc Main
 Debtor 1            Donna                Sue                  Document
                                                                 Hartzell    Page 27 of 88   Case number (if known)
                     First Name            Middle Name             Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔ Yes.
      ❑
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     Capital One                                                         Last 4 digits of account number 8761                                           $5,007.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        P.O. Box 4069
                                                                            As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                            ✔ Contingent
                                                                            ❑
        Carol Stream, IL 60197-4069
       City                           State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                 divorce that you did not report as priority claims
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                             similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                         Credit Card Debt
       ❑ Yes
        Remarks: credit card debt

4.2     Capital One                                                         Last 4 digits of account number 8176                                           unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        P.O. Box 4069
                                                                            As of the date you file, the claim is: Check all that apply.
       Number          Street
                                                                            ✔ Contingent
                                                                            ❑
        Carolstream, IL 60197-4069
       City                           State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                 divorce that you did not report as priority claims
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                             similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                         credit card debt
       ❑ Yes




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2 of 26
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 Debtor 1            Donna               Sue               Document
                                                             Hartzell    Page 28 of 88   Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.3     Celtic Bank/ Indigo Mastercard Genisis                          Last 4 digits of account number 4349                                    $557.45
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        14600 Greenbrier Parkway
       Number          Street                                           As of the date you file, the claim is: Check all that apply.

        Beaverton, OR 97006
                                                                        ✔ Contingent
                                                                        ❑
       City                          State     ZIP Code                 ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card
       ❑ Yes
4.4     Chase Cardmember Services                                       Last 4 digits of account number 6709                                  $3,003.14
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        P.O. Box 15548
       Number          Street                                           As of the date you file, the claim is: Check all that apply.

        Wilmington, DE 19886-5548
                                                                        ✔ Contingent
                                                                        ❑
       City                          State     ZIP Code                 ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card Debt
       ❑ Yes




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3 of 26
                Case 23-10511-JCM                 Doc 1     Filed 09/29/23 Entered 09/29/23 17:10:50 Desc Main
 Debtor 1            Donna               Sue               Document
                                                             Hartzell    Page 29 of 88   Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.5     Clear One Advantage                                                                                                                    unknown
                                                                        Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        Broom Factory
                                                                        As of the date you file, the claim is: Check all that apply.
        3500 Boston STE 413
       Number          Street
                                                                        ✔ Contingent
                                                                        ❑
        Baltimore, MD 21224                                             ❑ Unliquidated
       City                          State     ZIP Code                 ❑ Disputed
       Who incurred the debt? Check one.                                Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                ❑ Student loans
       ❑ Debtor 2 only                                                  ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                        ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       ❑ Check if this claim is for a community debt                    ✔ Other. Specify
                                                                        ❑
       Is the claim subject to offset?                                      credit agency
       ✔ No
       ❑
       ❑ Yes
4.6     Comcast/ XFinity                                                                                                                             $9.95
                                                                        Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        855 E. Main Street
       Number          Street                                           As of the date you file, the claim is: Check all that apply.
        Clarion, PA 16214
                                                                        ✔ Contingent
                                                                        ❑
       City                          State     ZIP Code                 ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    cable bill
       ❑ Yes




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4 of 26
                Case 23-10511-JCM                 Doc 1     Filed 09/29/23 Entered 09/29/23 17:10:50 Desc Main
 Debtor 1            Donna               Sue               Document
                                                             Hartzell    Page 30 of 88   Case number (if known)
                     First Name          Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                               Total claim

4.7     Credit One Bank, NA                                             Last 4 digits of account number 9439                                  $1,207.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        PO Box 98875
       Number          Street                                           As of the date you file, the claim is: Check all that apply.

        Las Vegas, NV 89193
                                                                        ✔ Contingent
                                                                        ❑
       City                          State     ZIP Code                 ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card Debt
       ❑ Yes
4.8     Credit One Bank, NA                                             Last 4 digits of account number 5602                                    $342.00
       Nonpriority Creditor's Name
                                                                        When was the debt incurred?
        PO Box 98875
       Number          Street                                           As of the date you file, the claim is: Check all that apply.

        Las Vegas, NV 89193
                                                                        ✔ Contingent
                                                                        ❑
       City                          State     ZIP Code                 ❑ Unliquidated
       Who incurred the debt? Check one.                                ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                  ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                    ❑ Debts to pension or profit-sharing plans, and other
                                                                            similar debts
       Is the claim subject to offset?                                  ✔ Other. Specify
                                                                        ❑
       ✔ No
       ❑                                                                    Credit Card Debt
       ❑ Yes




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5 of 26
              Case 23-10511-JCM                  Doc 1      Filed 09/29/23 Entered 09/29/23 17:10:50 Desc Main
 Debtor 1           Donna                Sue               Document
                                                             Hartzell    Page 31 of 88   Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.9     Cricket Store #90                                                                                                                         unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        22631 Route 68 STE 310
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Clarion, PA 16214
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       cell phone bill
       ❑ Yes
4.10    First Premier Bank                                                                                                                        unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        601 South Minnesota Ave.
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Sioux Falls, SD 57104
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           page 6 of 26
              Case 23-10511-JCM                  Doc 1      Filed 09/29/23 Entered 09/29/23 17:10:50 Desc Main
 Debtor 1           Donna                Sue               Document
                                                             Hartzell    Page 32 of 88   Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.11    Franklin Insurance                                                                                                                              $16.15
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        104 13th Street
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Franklin, PA 16323
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       car insurance
       ❑ Yes
4.12    Haband / Comenity Credit                                                                                                                  unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Century Link
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 2961
       Number          Street
                                                                           ✔ Contingent
                                                                           ❑
        Phoenix, AZ 85062-2956                                             ❑ Unliquidated
       City                          State     ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Credit card debt
       ✔ No
       ❑
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.13    Indigo/Genesis FS Card Services                                    Last 4 digits of account number 3720                                    $609.91
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 4499
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Beaverton, OR 97076-4499
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card Debt
       ❑ Yes
        Remarks: credit card debt

4.14    Jefferson Capital Syst                                                                                                                          $71.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        16 Mcleland Road
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Saint Cloud, MN 56303
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency for Verizon
       ❑ Yes
        Remarks: Verizon debt




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.15    JPMCB/ Amazon                                                                                                                             $3,003.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        410 Terry Ave., N
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Seattle, WA 98109
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes
4.16    Laurel Eye Clinic                                                                                                                         $7,000.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        50 Waterford Pike
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Brookville, PA 15825
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Medical Bill
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.17    LVNV Funding, LLC                                                  Last 4 digits of account number 9542                                   $5,067.76
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Resurgent Capital Services
                                                                           As of the date you file, the claim is: Check all that apply.
        P.O. Box 19034                                                     ✔ Contingent
                                                                           ❑
       Number          Street
        Greenville, SC 29602-9034                                          ❑ Unliquidated
       City                          State     ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Collection Agency bought debt from Spring Leaf
       ✔ No
       ❑                                                                       Financial Services

       ❑ Yes
        Remarks: Credit Card n

4.18    LVNV Funding, LLC                                                  Last 4 digits of account number 7758                                   $2,312.19
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Resurgent Capital Services
                                                                           As of the date you file, the claim is: Check all that apply.
        P.O. Box 19034                                                     ✔ Contingent
                                                                           ❑
       Number          Street
        Greenville, SC 29602-9034                                          ❑ Unliquidated
       City                          State     ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Collection Agency bought debt from Capital One
       ✔ No
       ❑
       ❑ Yes
        Remarks: Capital One Debt bought by LVNV




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.19    LVNV Funding, LLC                                                  Last 4 digits of account number 5602                                   $1,207.30
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Resurgent Capital Services
                                                                           As of the date you file, the claim is: Check all that apply.
        P.O. Box 19034                                                     ✔ Contingent
                                                                           ❑
       Number          Street
        Greenville, SC 29602-9034                                          ❑ Unliquidated
       City                          State     ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Collection Agency bought debt from Credit One
       ✔ No
       ❑                                                                       Bank, N.A.

       ❑ Yes
4.20    LVNV Funding, LLC                                                  Last 4 digits of account number 0001                                   $1,198.76
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Resurgent Capital Services
                                                                           As of the date you file, the claim is: Check all that apply.
        P.O. Box 19034                                                     ✔ Contingent
                                                                           ❑
       Number          Street
        Greenville, SC 29602-9034                                          ❑ Unliquidated
       City                          State     ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         wireless bill
       ✔ No
       ❑
       ❑ Yes
        Remarks: Collection agency bought Debtor's Verizon Wireless debt




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4.21    Merrick Bank                                                       Last 4 digits of account number 2206                                    $586.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 9201
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Old Bethpage, NY 11804-9001
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card Debt
       ❑ Yes
4.22    Midland Credit Management, Inc                                     Last 4 digits of account number 8610                                   $1,619.97
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
                                                                           As of the date you file, the claim is: Check all that apply.
        320 E. Big Beaver Road, STE                                        ✔ Contingent
                                                                           ❑
       Number          Street
        Troy, MI 48083                                                     ❑ Unliquidated
       City                          State     ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Midland Credit Managment obtained judgment
       ✔ No
       ❑                                                                       against Debtor

       ❑ Yes
        Remarks: Judgement against Debtor on August 20, 2020, and on February 3, 2023. It is the same debt.




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4.23    Midland Credit Managment                                           Last 4 digits of account number 8359                                   $1,156.60
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        350 Camino De La Reina Suite 100
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        San Diego, CA 92108
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency on Debtor's Credit Card Debt
       ❑ Yes
        Remarks: Collection agency bought Debtor's Credit Card Debt from Bank of Missouri Milestone

4.24    National Fuel                                                                                                                             unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        6363 Main Street
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Buffalo, NY 14221-5887
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       fuel bill
       ❑ Yes




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4.25    PA American Water                                                                                                                          $100.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 371412
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Pittsburgh, PA 15250-7412
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Water bill
       ❑ Yes
4.26    Portfolio Recover Associates, LLC                                                                                                         $1,076.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        150 Corporate Blvd
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Norfolk, VA 23502
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency
       ❑ Yes
        Remarks: Synchrony Bank is the original creditor. Portfolio Recovery bought the debt




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4.27    Portfolio Recovery Associates, LLC                                 Last 4 digits of account number 5321                                    $863.48
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        120 Corporate Blvd.
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Norfolk, VA 23502
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency for Synchrony Bank/QVC
       ❑ Yes
        Remarks: Synchrony Bank is the original creditor. Portfolio Recover Associates, LLC, a Collection Agency, bought the debt. The
        Collection Agency obtained a consent judgment Agreement against Debtor for $863.48.

4.28    Portfolio Recovery Associates, LLC                                 Last 4 digits of account number 7444                                   $2,457.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P. O. Box 12914
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Norfolk, VA 23541
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency bought debt from Synchrony
       ❑ Yes                                                                   Bank/ PayPal

        Remarks: Synchrony Bank/PayPal, sold this credit card debt to PRA, LLC. The Original creditor was Comenity Capital Bank.




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4.29    Portfolio Recovery Associates, LLC                                 Last 4 digits of account number 0546                                   $1,136.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        140 Corporate Blvd.
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Norfolk, VA 23502
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card Debt
       ❑ Yes
        Remarks: Collection Agency bought debt from Synchrony Bank

4.30    Resurgent Capital Systems                                          Last 4 digits of account number 4349                                    $609.01
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        55 Beattie Place Suite 110
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Greenville, SC 29601
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency
       ❑ Yes
        Remarks: credit card debt




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.31    Resurgent Capital Systems                                          Last 4 digits of account number 2950                                   unknown
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        55 Beattie Place Suite 110
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Greenville, SC 29601
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency
       ❑ Yes
4.32    Resurgent Capital Systems                                                                                                                 $1,138.76
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        55 Beattie Place Suite 110
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Greenville, SC 29601
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency
       ❑ Yes
        Remarks: Verizon original creditor




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              Case 23-10511-JCM                  Doc 1      Filed 09/29/23 Entered 09/29/23 17:10:50 Desc Main
 Debtor 1           Donna                Sue               Document
                                                             Hartzell    Page 43 of 88   Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.33    SpringLeaf                                                         Last 4 digits of account number 9542                                   $5,047.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 3251
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Evansville, IN 47731
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       unsecured loan
       ❑ Yes
        Remarks: unsecured loan

4.34    SpringLeaf                                                         Last 4 digits of account number 2950                                   $1,900.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 3251
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Evansville, IN 47731
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       unsecured loan
       ❑ Yes
        Remarks: Chevy car was repossessed and sold in 2006 or 2007.




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 Debtor 1           Donna                Sue               Document
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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.35    Synchrony Bank                                                     Last 4 digits of account number 6794                                   $1,921.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 71715
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Philadelphia , PA 19176
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card Debt
       ❑ Yes
        Remarks: Credit Card Debt

4.36    Synchrony Bank/ QVC                                                Last 4 digits of account number 0546                                    $863.48
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        1200 Wilson Drive
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        West Chester, PA 19380
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card Debt
       ❑ Yes




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 Debtor 1           Donna                Sue               Document
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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.37    Synchrony Bank/Care Credit                                                                                                                 $900.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 71715
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Philadelphia, PA 19176
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card Debt
       ❑ Yes
4.38    Synchrony Bank/HSN                                                                                                                        unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        P.O. Box 669803
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Pineville, AR 72566-0952
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       credit card debt
       ❑ Yes




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 Debtor 1           Donna                Sue               Document
                                                             Hartzell    Page 46 of 88   Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.39    TBOM/Milestone                                                     Last 4 digits of account number 4355                                    $765.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 4499
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Beaverton, OR 97076
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card Debt
       ❑ Yes
4.40    TBOM/Milestone                                                     Last 4 digits of account number 6542                                    $713.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 4499
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Beaverton, OR 97076
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card debt
       ❑ Yes




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 Debtor 1           Donna                Sue               Document
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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.41    TBOM/Milestone Bank                                                Last 4 digits of account number 4377                                   $1,084.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 4499
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Beaverton, OR 97076
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Credit Card
       ❑ Yes
        Remarks: credit card debt

4.42    True Accord                                                        Last 4 digits of account number 9542                                   $5,047.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        16011 College Blvd Suite 130
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Lenexa, KS 66219
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Collection Agency
       ❑ Yes




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 Debtor 1           Donna                Sue               Document
                                                             Hartzell    Page 48 of 88   Case number (if known)
                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.43    Upstart Network, INC/F                                             Last 4 digits of account number 7444                                   $3,648.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 1503
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        San Carlos, CA 94070
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       unsecured loan
       ❑ Yes
        Remarks: unsecured loan

4.44    West Penn Power                                                                                                                           unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 3687
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Akron, OH 44309-3687
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Electric bill
       ❑ Yes




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 Debtor 1           Donna                Sue               Document
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                    First Name           Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                  Total claim

4.45    Wood Forest National Bank                                          Last 4 digits of account number 3425                                    $500.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        1330 Lake Robbins Drive
       Number          Street                                              As of the date you file, the claim is: Check all that apply.

        Spring, TX 77380
                                                                           ✔ Contingent
                                                                           ❑
       City                          State     ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       bank account
       ❑ Yes




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 Debtor 1           Donna                Sue                 Document
                                                               Hartzell    Page 50 of 88   Case number (if known)
                    First Name           Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you
     do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Bryan J. Polas, Esquire                                    On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.22 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Law Offices of Hayt, Hayt & Landau, LLC, 2
        Industrial Way West, P.O. Box 500                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
       Number          Street
        Eatontown, NJ 07724                                        Last 4 digits of account number
       City                                State     ZIP Code


        Credit Control, LLC                                        On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        3300 Rider Trails Suite 500                                Line   4.7
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Earth City, MO 63045
       City                                State     ZIP Code      Last 4 digits of account number 229,

        Credit Control, LLC                                        On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.19 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        3300 Rider Trails Suite 500
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Earth City, MO 63045
       City                                State     ZIP Code      Last 4 digits of account number

        Merrick Bank                                               On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.21 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        P.O. Box 66072
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Dallas, TX 75266
       City                                State     ZIP Code      Last 4 digits of account number

        Portfolio Recovery Associates, LLC                         On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.37 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        140 Corporate Blvd.
       Number          Street                                                                  ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
        Norfolk, VA 23502
       City                                State     ZIP Code      Last 4 digits of account number

        Robert N. Polas, Jr., Esq., Portfolio Recovery             On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.27 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
        Associates, LLC, Litigation Department
       Name
        120 Corporate Blvd.                                                                    ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                               ❑
       Number          Street
        Norfolk, VA 23502-8102                                     Last 4 digits of account number 5321
       City                                State     ZIP Code


                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                   Line
       Number          Street                                                                  ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                   Last 4 digits of account number

       City                                State     ZIP Code




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 Debtor 1          Donna                  Sue                Document
                                                               Hartzell    Page 51 of 88   Case number (if known)
                   First Name             Middle Name            Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                          Total claim


                   6a. Domestic support obligations                             6a.                           $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                6b.                           $0.00
                       government

                   6c. Claims for death or personal injury while you            6c.                           $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.          6d.   +                       $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                          6e.                            $0.00




                                                                                          Total claim


                   6f. Student loans                                            6f.                           $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                  6g.                           $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and            6h.                           $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured               6i.   +                  $63,743.91
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                          6j.                       $63,743.91




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                                                                       Document      Page 52 of 88
 Fill in this information to identify your case:

     Debtor 1                       Donna                Sue                Hartzell
                                    First Name           Middle Name       Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                        Western District of Pennsylvania

     Case number                                                                                                                          ❑ Check if this is an
     (if known)                                                                                                                               amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                              Debtor rents her apartment
        Allegheny Estates Matt Steinman                                                          Contract to be ASSUMED
        Name
         278 Bear Den Ln.
        Allegheny Estates, LLC
        Number     Street
        Tionesta, PA 16353
        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of 1
                  Case 23-10511-JCM                           Doc 1    Filed 09/29/23 Entered 09/29/23 17:10:50                          Desc Main
                                                                      Document      Page 53 of 88
 Fill in this information to identify your case:

  Debtor 1                       Donna                  Sue               Hartzell
                                 First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                         Western District of Pennsylvania

  Case number                                                                                                                         ❑ Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                       12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


                Name

                Number           Street

                City                                  State    ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt
                                                                                                           Check all schedules that apply:
3.1                                                                                                        ❑ Schedule D, line
      Name
                                                                                                           ❑ Schedule E/F, line
      Number            Street                                                                             ❑ Schedule G, line
      City                                    State   ZIP Code




Official Form 106H                                                           Schedule H: Your Codebtors                                                     Page 1 of 1
                  Case 23-10511-JCM                   Doc 1       Filed 09/29/23 Entered 09/29/23 17:10:50                                   Desc Main
                                                                 Document      Page 54 of 88
 Fill in this information to identify your case:

  Debtor 1                  Donna                  Sue               Hartzell
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name                                              Check if this is:

  United States Bankruptcy Court for the:                    Western District of Pennsylvania                              ❑ An amended filing
                                                                                                                           ❑ A supplement showing postpetition
  Case number                                                                                                                 chapter 13 income as of the following date:
  (if known)

                                                                                                                              MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                        Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                      ✔ Not Employed
                                                                         ❑ Employed ❑                                       ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address
     Occupation may include student                                       Number Street                                      Number Street
     or homemaker, if it applies.




                                                                          City                      State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1   For Debtor 2 or
                                                                                                                       non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.                 $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                3.   +             $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.                 $0.00                     $0.00




Official Form 106I                                                        Schedule I: Your Income                                                               page 1
                  Case 23-10511-JCM                                 Doc 1          Filed 09/29/23 Entered 09/29/23 17:10:50                               Desc Main
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 Debtor 1                 Donna                        Sue                             Hartzell                                      Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.                $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.               $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h. +             $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.                $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.                $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.           $1,080.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.            $1,080.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $1,080.00    +               $0.00         =          $1,080.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $1,080.00

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                  Case 23-10511-JCM                    Doc 1        Filed 09/29/23 Entered 09/29/23 17:10:50                                Desc Main
                                                                   Document      Page 56 of 88
 Fill in this information to identify your case:

  Debtor 1                  Donna                   Sue                  Hartzell
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                      Western District of Pennsylvania
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                      $189.00


     If not included in line 4:
                                                                                                                              4a.                          $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                          $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                       $0.00




Official Form 106J                                                                  Schedule J: Your Expenses                                                       page 1
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 Debtor 1             Donna                 Sue                   Hartzell                                   Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $100.00

       6b. Water, sewer, garbage collection                                                                        6b.                   $100.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $40.00

       6d. Other. Specify:                           gas                                                           6d.                       $30.00

 7.    Food and housekeeping supplies                                                                              7.                    $155.00

 8.    Childcare and children’s education costs                                                                    8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $80.00

 10. Personal care products and services                                                                           10.                       $50.00

 11.   Medical and dental expenses                                                                                 11.                       $20.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $140.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $67.00

 14. Charitable contributions and religious donations                                                              14.                       $88.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                       $0.00

       15c. Vehicle insurance                                                                                      15c.                       $0.00

       15d. Other insurance. Specify:             See Additional Page                                              15d.                      $20.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                       $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                       $0.00
       17c. Other. Specify:
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00



Official Form 106J                                                           Schedule J: Your Expenses                                                page 2
               Case 23-10511-JCM                 Doc 1      Filed 09/29/23 Entered 09/29/23 17:10:50                            Desc Main
                                                           Document      Page 58 of 88
 Debtor 1            Donna               Sue                   Hartzell                                     Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.     +              $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $1,079.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $1,079.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $1,080.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $1,079.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                   $1.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                        Schedule J: Your Expenses                                              page 3
              Case 23-10511-JCM                   Doc 1       Filed 09/29/23 Entered 09/29/23 17:10:50                     Desc Main
                                                             Document      Page 59 of 88
 Debtor 1            Donna               Sue                    Hartzell                               Case number (if known)
                     First Name          Middle Name            Last Name




                                                                                                                                       Amount


   12. Transportation: gas, maintenance, bus or train fare
       Debtor's friend, Esther driving Debtor 4 times a month-$20.00 each trip-$80.00 a month                                          $140.00
       Debtor being driven every other month to New Castle, PA-$30.00trip to New Casl                                                    $0.00
       Debtor's friend, Laurie driving Debtor 3 times a month-$10.00 a trip-total $30.00                                                 $0.00

   13. Entertainment, clubs, recreation, newspapers, magazines, and books
       Eating out monthly 4 times-Bob's Subs-$40.00                                                                                     $67.00
       Order in Pizza Pub-2 times a month-$40.00                                                                                         $0.00
       Buying hobby items-$50.00                                                                                                         $0.00

   14. Charitable contributions and religious donations
       Hemmed a dress-$20.00                                                                                                            $88.00
       made an apron-$10.00                                                                                                              $0.00
       hemmed pants-$10.00                                                                                                               $0.00
       bought cookies-$20.00                                                                                                             $0.00
       bought subs-$18.00                                                                                                                $0.00
       gave bucket to Salvation Army-$10.00                                                                                              $0.00

   15d. Other Insurance
       rent insurance                                                                                                                   $10.00
       car insurance for non-car owner                                                                                                  $10.00




Official Form 106J                                                         Schedule J: Your Expenses                                       page 4
                  Case 23-10511-JCM                             Doc 1          Filed 09/29/23 Entered 09/29/23 17:10:50                                                     Desc Main
                                                                              Document      Page 60 of 88
 Fill in this information to identify your case:

  Debtor 1                      Donna                       Sue                      Hartzell
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                Western District of Pennsylvania

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                               $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                 $3,485.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                           $3,485.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                       $0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                            $0.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +              $63,743.91


                                                                                                                                                  Your total liabilities                      $63,743.91

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                       $1,080.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $1,079.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                         page 1 of 2
              Case 23-10511-JCM                    Doc 1      Filed 09/29/23 Entered 09/29/23 17:10:50                                   Desc Main
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Debtor 1            Donna                 Sue                    Hartzell                                          Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                               $0.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                             $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                    $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                          $0.00



    9d. Student loans. (Copy line 6f.)                                                                                           $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                          $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                   $0.00



    9g. Total. Add lines 9a through 9f.                                                                                         $0.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
                  Case 23-10511-JCM                   Doc 1       Filed 09/29/23 Entered 09/29/23 17:10:50                            Desc Main
                                                                 Document      Page 62 of 88
 Fill in this information to identify your case:

  Debtor 1                  Donna                  Sue               Hartzell
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Pennsylvania

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Donna Sue Hartzell
        Donna Sue Hartzell, Debtor 1


        Date 09/24/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 23-10511-JCM                   Doc 1       Filed 09/29/23 Entered 09/29/23 17:10:50                              Desc Main
                                                                 Document      Page 63 of 88
 Fill in this information to identify your case:

  Debtor 1                  Donna                  Sue               Hartzell
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Pennsylvania

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
     30 South Sheridan                                          07/2018 to                                                                From
    Number       Street                                    From 06/2022               Number     Street
                                                                                                                                          To
                                                           To
     Clarion, PA 16214
    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

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Debtor 1            Donna             Sue                     Hartzell                                       Case number (if known)
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                                ❑ Wages, commissions,                                  ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                                ❑ Operating a business                                 ❑ Operating a business

    For last calendar year:                     ❑ Wages, commissions,                                  ❑ Wages, commissions,
    (January 1 to December 31, 2022         )       bonuses, tips                                          bonuses, tips
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business

    For the calendar year before that:          ❑ Wages, commissions,                                  ❑ Wages, commissions,
    (January 1 to December 31, 2021         )       bonuses, tips                                          bonuses, tips
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the                                            $8,640.00
    date you filed for bankruptcy:




    For last calendar year:                     Social Security                        $11,928.00
    (January 1 to December 31, 2022         )   Disability
                                   YYYY




    For the calendar year before that:          Social Security                        $11,256.00
    (January 1 to December 31, 2021         )   Disability
                                   YYYY




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Debtor 1             Donna                        Sue                  Hartzell                                       Case number (if known)
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.         List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                             paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                             not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                             include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                             an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                         ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
             Number       Street
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
                                                                                                                                         ❑ Suppliers or vendors
             City                         State      ZIP Code                                                                            ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




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Debtor 1             Donna                 Sue                    Hartzell                                        Case number (if known)
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case

                                                     A Civil Case involving a Credit Card
    Case title        Midland Credit
                      Managment, Inc vs.             Debt.                                  Commonwealth of Pennsylvania,                   ❑ Pending
                      Donna Hartzell
                                                                                            County of Clarion, MDJ-18-3-03
                                                                                            Court Name                                      ❑ On appeal
                MJ-18301-                                                                   MDJ-18-3-03 Honorable Jarah Lee                 ✔ Concluded
                                                                                                                                            ❑
    Case number CV-0000029-2020                                                             Heeter
                                                                                            P.O. Box 519
                                                                                            Number       Street
                                                                                            Knox, PA 16232
                                                                                            City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




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Debtor 1            Donna                  Sue                     Hartzell                                       Case number (if known)
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name


    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code
                                                                   ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name


    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




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Debtor 1             Donna                   Sue                  Hartzell                                       Case number (if known)
                     First Name              Middle Name          Last Name

     Gifts with a total value of more than $600            Describe the gifts                                        Dates you gave       Value
     per person                                                                                                      the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                             State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities           Describe what you contributed                                Date you              Value
     that total more than $600                                                                                  contributed



    Charity’s Name




    Number     Street



    City                     State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                            Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




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Debtor 1            Donna                Sue                    Hartzell                                     Case number (if known)
                    First Name           Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred            Date payment or       Amount of payment
    Carter Bianco, LLP                                                                                      transfer was made
    Person Who Was Paid                        Attorney's Fee
                                                                                                            7/01/2023                       $1,000.00
    201 Main Street, 2nd Floor
    Number     Street




    Brookville, PA 15825
    City                    State   ZIP Code


    Email or website address
    Donna Hartzell
    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred            Date payment or       Amount of payment
    Clear One Advantage                                                                                     transfer was made
    Person Who Was Paid                        payment on debt consolidation
                                                                                                            10/ 2022                          $297.00
    Broom Factory, 3500 Boston, STE.
    410                                                                                                     11/2022                           $297.00
    Number     Street
                                                                                                            12/2022                           $350.00

                                                                                                            01/2023                           $350.00

    Baltimore, MD 21224                                                                                     02/2023                           $350.00
    City                    State   ZIP Code
                                                                                                            03/2023                           $350.00

                                                                                                            04/2023                           $350.00

                                                                                                            05/2023                           $350.00



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Donna                Sue                  Hartzell                                       Case number (if known)
                    First Name           Middle Name          Last Name

                                               Description and value of property         Describe any property or payments               Date transfer was
                                               transferred                               received or debts paid in exchange              made

    Person Who Received Transfer


    Number      Street




    City                    State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                         Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                      instrument               closed, sold, moved, or    before closing or
                                                                                                               transferred                transfer

    Name of Financial Institution
                                                XXXX–                               ❑ Checking
                                                                                    ❑ Savings
                                                                                    ❑ Money market
    Number      Street


                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                    State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

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Debtor 1            Donna                Sue                  Hartzell                                       Case number (if known)
                    First Name           Middle Name          Last Name

                                                 Who else had access to it?                  Describe the contents                       Do you still have
                                                                                                                                         it?

                                                                                                                                        ❑ No
    Name of Financial Institution               Name
                                                                                                                                        ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                    State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else has or had access to it?           Describe the contents                       Do you still have
                                                                                                                                         it?

                                                                                                                                        ❑ No
    Name of Storage Facility                    Name
                                                                                                                                        ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                    State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Where is the property?                      Describe the property                       Value


    Owner's Name
                                                Number    Street


    Number      Street

                                                City                 State   ZIP Code


    City                    State   ZIP Code




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Debtor 1            Donna                Sue                   Hartzell                                        Case number (if known)
                    First Name           Middle Name           Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Governmental unit                       Environmental law, if you know it                   Date of notice


    Name of site                               Governmental unit



    Number     Street                          Number     Street


                                               City                State   ZIP Code


    City                    State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Governmental unit                       Environmental law, if you know it                   Date of notice


    Name of site                               Governmental unit



    Number     Street                          Number     Street


                                               City                State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Donna                 Sue                       Hartzell                                         Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Court or agency                          Nature of the case                                  Status of the case


    Case title
                                                  Court Name
                                                                                                                                                ❑ Pending
                                                                                                                                                ❑ On appeal
                                                                                                                                                ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                    Describe the nature of the business                      Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed

                                                                                                              From                  To

    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




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 Debtor 1           Donna               Sue                   Hartzell                                      Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Donna Sue Hartzell
        Signature of Donna Sue Hartzell, Debtor 1


        Date 09/24/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

  Debtor 1                  Donna                  Sue                 Hartzell
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Pennsylvania

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures Did you claim the property as
                                                                            a debt?                                                 exempt on Schedule C?




Official Form 108                                        Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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 Debtor 1            Donna                  Sue                  Hartzell                                     Case number (if known)
                     First Name             Middle Name           Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                          Will the lease be assumed?
    Lessor’s name:                Matt Steinman, Allegheny Estates                                                             ❑ No
                                                                                                                               ✔ Yes
                                                                                                                               ❑
    Description of leased
    property:                     Debtor rents her apartment

    Lessor’s name:                                                                                                             ❑ No
                                                                                                                               ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                             ❑ No
                                                                                                                               ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                             ❑ No
                                                                                                                               ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                             ❑ No
                                                                                                                               ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                             ❑ No
                                                                                                                               ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                             ❑ No
                                                                                                                               ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Donna Sue Hartzell
      Signature of Debtor 1


      Date 09/24/2023
            MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                       page 2
                  Case 23-10511-JCM                   Doc 1       Filed 09/29/23 Entered 09/29/23 17:10:50 Desc Main
 Fill in this information to identify your case:                                             Check one box only as directed in this form and in
                                                                 Document      Page 77 of 88 Form 122A-1Supp:
  Debtor 1                  Donna                  Sue                 Hartzell
                                                                                                             ✔ 1. There is no presumption of abuse.
                                                                                                             ❑
                           First Name              Middle Name         Last Name

  Debtor 2
                                                                                                             ❑ 2. The calculation to determine if a presumption
  (Spouse, if filing)
                                                                                                                of abuse applies will be made under Chapter 7
                           First Name              Middle Name         Last Name
                                                                                                                Means Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                    Western District of Pennsylvania                ❑ 3. The Means Test does not apply now because
                                                                                                                of qualified military service but it could apply later.
  Case number
  (if known)
                                                                                                             ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ✔ Not married. Fill out Column A, lines 2-11.
     ❑
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                                    $0.00

 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.                                                                                                   $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.                                                                      $0.00

 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)                                $0.00

     Ordinary and necessary operating expenses                     -       $0.00   -
                                                                                                  Copy
                                                                           $0.00
     Net monthly income from a business, profession, or farm                                      here
                                                                                                  →                 $0.00

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
     Gross receipts (before all deductions)                                $0.00

     Ordinary and necessary operating expenses                     -       $0.00   -
                                                                                                  Copy
                                                                           $0.00
     Net monthly income from rental or other real property                                        here
                                                                                                  →                 $0.00

 7. Interest, dividends, and royalties                                                                              $0.00

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                             page 1
                  Case 23-10511-JCM                                    Doc 1           Filed 09/29/23 Entered 09/29/23 17:10:50 Desc Main
Debtor 1                   Donna                          Sue                           Hartzell                    Case number (if known)
                           First Name                     Middle Name
                                                                                      Document
                                                                                        Last Name
                                                                                                    Page 78 of 88
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation                                                                                                         $0.00
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................          $900.00
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a                                                       $0.00
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

                                                                                                                                           $0.00           +                        =          $0.00
       11. Calculate your total current monthly income. Add lines 2 through 10 for
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                     Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →                    $0.00

            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.              $0.00

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                             Pennsylvania

    Fill in the number of people in your household.                                  1

    Fill in the median family income for your state and size of household.................................................................................................... 13.       $66,454.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
         ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
    14a. ❑
           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                        page 2
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Debtor 1           Donna                 Sue                   Hartzell                    Case number (if known)
                   First Name            Middle Name
                                                             Document
                                                               Last Name
                                                                           Page 79 of 88
Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Donna Sue Hartzell
       Signature of Debtor 1

       Date 09/24/2023
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                           Western District of Pennsylvania

In re        Hartzell, Donna Sue

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $1,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

        d.      Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        09/24/2023                                         /s/ Granville Enriquez Carter
                Date                                         Granville Enriquez Carter
                                                             Signature of Attorney
                                                                                                 Bar Number: 59640
                                                                                                 Carter Bianco, LLP
                                                                                          201 Main Street, 2nd Floor
                                                                                                Brookville, PA 15825
                                                                                              Phone: (814) 849-8021

                                                                               Carter Bianco, LLP
                                                            Name of law firm




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                               Bryan J. Polas, Esquire
                               Law Offices of Hayt, Hayt & Landau, LLC,
                               2 Industrial Way West, P.O. Box 500
                               Eatontown, NJ 07724



                               Capital One
                               P.O. Box 4069
                               Carol Stream, IL 60197-4069




                               Capital One
                               P.O. Box 4069
                               Carolstream, IL 60197-4069




                               Celtic Bank/ Indigo
                               Mastercard Genisis
                               14600 Greenbrier Parkway
                               Beaverton, OR 97006



                               Chase Cardmember Services
                               P.O. Box 15548
                               Wilmington, DE 19886-5548




                               Clear One Advantage
                               Broom Factory
                               3500 Boston STE 413
                               Baltimore, MD 21224



                               Comcast/ XFinity
                               855 E. Main Street
                               Clarion, PA 16214




                               Credit Control, LLC
                               3300 Rider Trails Suite 500
                               Earth City, MO 63045
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                               Credit One Bank, NA
                               PO Box 98875
                               Las Vegas, NV 89193




                               Credit One Bank, NA
                               PO Box 98875
                               Las Vegas, NV 89193




                               Cricket Store #90
                               22631 Route 68 STE 310
                               Clarion, PA 16214




                               First Premier Bank
                               601 South Minnesota Ave.
                               Sioux Falls, SD 57104




                               Franklin Insurance
                               104 13th Street
                               Franklin, PA 16323




                               Haband / Comenity Credit
                               Century Link
                               PO Box 2961
                               Phoenix, AZ 85062-2956



                               Indigo/Genesis FS Card
                               Services
                               P.O. Box 4499
                               Beaverton, OR 97076-4499



                               Jefferson Capital Syst
                               16 Mcleland Road
                               Saint Cloud, MN 56303
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                               JPMCB/ Amazon
                               410 Terry Ave., N
                               Seattle, WA 98109




                               Laurel Eye Clinic
                               50 Waterford Pike
                               Brookville, PA 15825




                               LVNV Funding, LLC
                               Resurgent Capital Services
                               P.O. Box 19034
                               Greenville, SC 29602-9034



                               Allegheny Estates Matt
                               Steinman
                               278 Bear Den Ln.
                               Allegheny Estates, LLC
                               Tionesta, PA 16353


                               Merrick Bank
                               P.O. Box 9201
                               Old Bethpage, NY 11804-9001




                               Merrick Bank
                               P.O. Box 66072
                               Dallas, TX 75266




                               Midland Credit Management,
                               Inc
                               320 E. Big Beaver Road, STE
                               Troy, MI 48083



                               Midland Credit Managment
                               350 Camino De La Reina Suite 100
                               San Diego, CA 92108
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                               National Fuel
                               6363 Main Street
                               Buffalo, NY 14221-5887




                               PA American Water
                               PO Box 371412
                               Pittsburgh, PA 15250-7412




                               Portfolio Recover Associates,
                               LLC
                               150 Corporate Blvd
                               Norfolk, VA 23502



                               Portfolio Recovery Associates,
                               LLC
                               120 Corporate Blvd.
                               Norfolk, VA 23502



                               Portfolio Recovery Associates,
                               LLC
                               P. O. Box 12914
                               Norfolk, VA 23541



                               Portfolio Recovery Associates,
                               LLC
                               140 Corporate Blvd.
                               Norfolk, VA 23502



                               Resurgent Capital Systems
                               55 Beattie Place Suite 110
                               Greenville, SC 29601




                               Robert N. Polas, Jr., Esq.,
                               Portfolio Recovery Associates,
                               LLC, Litigation Department
                               120 Corporate Blvd.
                               Norfolk, VA 23502-8102
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                               SpringLeaf
                               P.O. Box 3251
                               Evansville, IN 47731




                               Synchrony Bank
                               P.O. Box 71715
                               Philadelphia , PA 19176




                               Synchrony Bank/ QVC
                               1200 Wilson Drive
                               West Chester, PA 19380




                               Synchrony Bank/Care Credit
                               PO Box 71715
                               Philadelphia, PA 19176




                               Synchrony Bank/HSN
                               P.O. Box 669803
                               Pineville, AR 72566-0952




                               TBOM/Milestone
                               PO Box 4499
                               Beaverton, OR 97076




                               TBOM/Milestone Bank
                               PO Box 4499
                               Beaverton, OR 97076




                               True Accord
                               16011 College Blvd Suite 130
                               Lenexa, KS 66219
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                               Upstart Network, INC/F
                               PO Box 1503
                               San Carlos, CA 94070




                               West Penn Power
                               PO Box 3687
                               Akron, OH 44309-3687




                               Wood Forest National Bank
                               1330 Lake Robbins Drive
                               Spring, TX 77380
       Case 23-10511-JCM                 Doc 1      Filed 09/29/23 Entered 09/29/23 17:10:50                                Desc Main
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF PENNSYLVANIA
                                                              ERIE DIVISION

IN RE: Hartzell, Donna Sue                                                            CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      09/24/2023            Signature                               /s/ Donna Sue Hartzell
                                                                       Donna Sue Hartzell, Debtor
